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UNITED ST ATES DISTRICT COURT                                                                                          4/29/2024
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
S.G. and M.G., on behalf of themselves
and others similarly situated,

                                        Plaintiffs,


                    -against-                                                                       23-cv-2866 (LAK)


BANK OF CHINA LTD., et al.,

                                        Defendants.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x



                                                            ORDER

LEWIS A. KAPLAN, District Judge.

                The Court today has granted the motions of Bank of China (U.S.A.), BOCI
Commodities & Futures (USA) LLC, CME Group Inc., and New· York Mercantile Exchange to
dismiss the complaint. Defendant BOC International Holdings Ltd. ("BOCI") joined in those motions
(0kt 66) and filed, in addition, a motion to dismiss for lack of personal jurisdiction (0kt 63).

                In view ofBOCI's joindcr on the motions to dismiss by other defendants, the complaint
is dismissed also as to BOCJ for the reasons stated in the decision granting those motions to dismiss.
BOCI's motion to dismiss for lack of personal jurisdiction (0kt 63) is denied as moot.

                This order, together with the memorandum opinion of even date, dispose of this action
as to all defendants except Bank of China Ltd. ("BOC"), which is based in China and has not been
served in the more than a year during which this action has been pending. In the circumstances, there
is no just reason for delay. The Clerk therefore is directed, pursuant to Fed. R. Civ. P. 54(b), to enter
final judgment dismissing the action as to all defendants except BOC.

                    SO ORDERED.

Dated:              April 29, 2024
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                                                                                United States District Judge
